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                                        CLERK’S MINUTE SHEET
                          IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI (NORTHERN DIVISION)

                                  Before the Honorable Linda R. Anderson

                                                 Rule 5 Proceedings

Case Number:         3:18mj152-LRA                       UNITED STATES vs. CRAVITZ

Hearing Date:        7/26/2018                           Time In and Out:       13 min./12:02:43-12:15:44

Clerk:               Winnie Goodwin                      Courtroom:             6D

Defendant:           Victoria Michelle Cravitz           Defendant’s Counsel:   Michael Scott, FPD

AUSA                 David H. Fulcher                    Pretrial/Probation:    Robert Wilder, Jr.

Interpreter:         n/a
Initial Appearance
☒       Defendant sworn

☒       Defendant received a copy of charging document

☐       Court advises defendant(s) of possible penalties and all constitutional rights

☒       Defendant wants Court appointed counsel – FPD appointed

☒       Government moves to detain                       ☐    Government does not recommend detention

☐       Set for                                          on                          @
Preliminary/Show Cause/Identity
        Defendant waives identity hearing, preliminary hearing and detention hearing but requests
☒
        preliminary hearing and detention hearing in charging district
☐       Court finds probable cause                       ☐    Court does not find probable cause
Custody Status
☐       Defendant waives detention hearing
        Defendant to be transferred to charging
☒
        district
☐       Conditions
Other
☐

☐
